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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


DECKERS OUTDOOR CORPORATION,
                                                    Case No. 20-cv-02930
                       Plaintiff,
                                                    Judge Thomas M. Durkin
       v.
                                                    Magistrate Judge Jeffrey Cole
0ESHOP-2014, et al.,

                       Defendants.


                    NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Deckers

Outdoor Corporation (“Plaintiff”) hereby dismiss this action with prejudice as to the following

Defendants:

               Defendant Name                                       Line No.
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                   Artificial                                          48
                  Fu Lai ba                                           100
                 Thanks baby                                          247
                zhuliming555                                          302




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Dated this 10th day of July 2020.     Respectfully submitted,


                                      /s/ RiKaleigh C. Johnson
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                                      Justin R. Gaudio
                                      RiKaleigh C. Johnson
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